Case 1:19-cv-02367-ABJ   Document 3   Filed 08/07/19   Page 1 of 4




                                                  1: 19-cv-2367 (ABJ)
Case 1:19-cv-02367-ABJ   Document 3   Filed 08/07/19   Page 2 of 4




                                                   : 19-cv-2367 (ABJ)
Case 1:19-cv-02367-ABJ   Document 3   Filed 08/07/19   Page 3 of 4




                                                  1: 19-cv-2367 (ABJ)
Case 1:19-cv-02367-ABJ   Document 3   Filed 08/07/19   Page 4 of 4




                                                  1: 19-cv-2367 (ABJ)
